
698 S.E.2d 73 (2010)
STATE
v.
James Ray LITTLE, III.
No. 221A09.
Supreme Court of North Carolina.
June 3, 2010.
Benjamin Dowling-Sendor, Assistant Appellate Defender, Paul M. Green, Durham, for Little.
Robert C. Montgomery, Special Deputy Attorney General, Daniel P. O'Brien, Assistant Attorney General, for State of North Carolina.
The following order has been entered on the motion filed on the 3rd of June 2010 by State of NC for Extension of Time to File Brief:
"Motion Allowed by order of the Court in conference this the 3rd of June 2010."
State of North Carolina shall have up to and including the 21st day of June 2010 to file and serve his/her brief with this Court.
